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                EXHIBIT 7
     Case: 1:20-cv-02322-DAR Doc #: 56-7 Filed: 12/27/23 2 of 2. PageID #: 848


From:                  Kyle D. Stroup
To:                    Peter Curtin; Yichen Cao; Campbell, Jay R.; Petruzzi, Anthony R.; Ostrowski, Carter S.
Cc:                    Jon J. Pinney; Jon W. Groza; Nathan F. Studeny
Subject:               RE: NOCO v. Aukey, et al., -- Proposed ESI Search Terms for NOCO
Date:                  Wednesday, November 22, 2023 3:06:24 PM
Attachments:           NOCO v Aukey SUB1010086- HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY – SUBJECT TO PROTECTIVE
                       ORDER – Amazon Communications.pdf


Pete: In follow-up to my email below, NOCO’s November 22, 2023 production may be found at the
bellow shared folder. Additionally, attached is the document produced by Amazon that we discussed
on our call earlier. As noted on the documents produced by Amazon, they are designated as “Highly
Confidential – Attorneys’ Eyes Only” so please keep that in mind.




I will follow up by separate correspondence for the passwords to the files.

Please note that, by producing these documents, Plaintiff The NOCO Company is not waiving,
intends to preserve, and is preserving any and all objections previously raised during this litigation.
Additionally, the documents found in the above folder are being produced in accordance and subject
to the Stipulated Protective Order in the above-referenced matter.

Should you have any questions, please contact me.

Thank you,

KYLE D. STROUP
Associate | KJK


D 216.736.7231 | M 330.978.6549 | E kds@KJK.com
1375 E 9th Street, 29th Floor | Cleveland, Ohio 44114
KJK.com | Confidentiality Notice


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From: Kyle D. Stroup
Sent: Wednesday, November 22, 2023 3:25 PM
To: 'Peter Curtin' <pcurtin@analectslegal.com>; 'Yichen Cao' <ycao@analectslegal.com>; 'Campbell,
Jay R.' <Jay.Campbell@tuckerellis.com>; 'Petruzzi, Anthony R.' <anthony.petruzzi@tuckerellis.com>;
'Ostrowski, Carter S.' <Carter.Ostrowski@tuckerellis.com>
Cc: Jon J. Pinney <jjp@kjk.com>; Jon W. Groza <jwg@kjk.com>; Nathan F. Studeny <nfs@kjk.com>
Subject: RE: NOCO v. Aukey, et al., -- Proposed ESI Search Terms for NOCO

Pete:
